  Case 3:21-cv-01585-S Document 10 Filed 09/22/21   Page 1 of 12 PageID 5867



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION
                            ____________

                            No. 3:21-CV-01585-S
                               ____________

           IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                            Debtors.

         THE CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD.,
                                                       Appellants,

                                     v.

                  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                               Appellee.
                                ____________

   APPELLANTS’ OPPOSED MOTION TO STAY OR ABATE APPEAL
                       ____________

  APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
      NORTHERN DISTRICT OF TEXAS, CASE NO. 19-34054-sgj11

Mazin A. Sbaiti
Jonathan Bridges
SBAITI & COMPANY PLLC
J.P. Morgan Chase Tower
2200 Ross Avenue, Suite 4900W
Dallas, TX 75201
T: (214) 432-2899
F: (214) 853-4367
MAS@sbaitilaw.com
JEB@sbaitilaw.com


  Counsel for Appellants The Charitable DAF Fund, L.P. and CLO Holdco, Ltd.
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21   Page 2 of 12 PageID 5868



                CORPORATE DISCLOSURE STATEMENT

     Appellants are The Charitable DAF Fund, L.P., a limited company formed

under the laws of the Cayman Islands, and CLO Holdco, Ltd., a limited company

formed under the laws of the Cayman Islands. No public corporation directly or

indirectly owns 10% or more of the membership interests in The Charitable DAF

Fund, L.P. or CLO Holdco, Ltd.
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 3 of 12 PageID 5869



                                INTRODUCTION

      This case presents both procedural and substantive issues that explore the

boundaries of Fifth Circuit precedent on a bankruptcy court’s jurisdiction, the

finality of certain bankruptcy orders, and whether Debtor-retained professionals

should be entitled to the same protections against suit as bankruptcy trustees. Yet,

some of these issues are currently being briefed in the Fifth Circuit in a separate

appeal from the bankruptcy court’s Plan Confirmation Order, entered in the same

bankruptcy proceeding. The order appointing a Debtor-retained professional at issue

in this appeal and the Plan Confirmation Order contain similar gate-keeping and

injunctive language related to suits against Debtor-retained professionals. Given this

overlap, judicial economy and conservation of resources favor abating or staying

this appeal until the Fifth Circuit gives guidance on the breadth of a bankruptcy

court’s power to protect, exculpate, and adjudicate claims against Debtor-retained

professionals.

                 FACTUAL AND PROCEDURAL BACKGROUND

      This appeal arises out of a long and complicated Chapter 11 bankruptcy

involving Debtor Highland Capital Management, L.P. (“Highland Capital”).

Highland Capital was a global investment adviser registered with the SEC pursuant

to the Investment Advisers Act of 1940 and managed billions of dollars of third-

party assets. See generally ROA.672, 831. As such, Highland Capital owed strict


                                          2
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 4 of 12 PageID 5870



fiduciary duties both to the funds it managed and to the investors whose investments

its managed. The Charitable DAF Fund, L.P. (“the DAF”) and CLO Holdco, Ltd.

(“CLO Holdco”) are two of those investors. Id.

      In January 2020, as part of the ongoing Chapter 11 proceedings, the

bankruptcy court entered an order that approved the appointment of three new

independent directors to govern Highland Capital’s general partner, Strand

Advisors, Inc. ROA.505-10. One of those new independent board members was Mr.

Jim Seery. Id. Key to this appeal, in July 2020, the bankruptcy court approved

Highland Capital’s request to appoint Mr. Seery as its new Chief Executive Officer

and Chief Restructuring Officer (the “Appointment Order”). ROA.510-42;

ROA.543-54. The Appointment Order, like the January predecessor, contained gate-

keeper and injunctive provisions that required parties seeking to sue Mr. Seery to

first seek the bankruptcy court’s determination that the suing party had a viable claim

for willful misconduct or gross negligence only. ROA.544-45. And if such a viable

claim were determined to exist, the bankruptcy court would have “sole jurisdiction

to adjudicate any such claim[.]” See id.

      Six months later, Highland Capital filed its proposed plan (as an amendment

of prior versions) on January 22, 2021. ROA.601-66. Over objections of numerous

creditors and parties, the Bankruptcy Court entered its Plan Confirmation Order on

February 22, 2021. ROA.667-865. That order also contains exculpatory and

                                           3
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 5 of 12 PageID 5871



injunctive provisions similar to those in the Appointment Order at issue here.

ROA.716-22, 740-44, 810-12. Several parties have challenged the Plan

Confirmation Order, resulting in a direct appeal to the Fifth Circuit that is currently

being briefed on the merits. See NexPoint Advisors, L.P. et al. v. Highland Capital

Management, L.P., No. 21-10449 (5th Cir. 2021) [hereafter “NexPoint Advisors

appeal”].

      Meanwhile, the DAF and CLO Holdco became concerned with Highland

Capital’s management of their investments and decided to sue for breach of

fiduciary duties to the DAF and CLO Holdco mandated under the Investment

Advisors Act of 1940, among other claims. Because of the seemingly broad and void

nature of the gate-keeping, injunctive, and jurisdictional provisions in the

bankruptcy court’s Appointment Order, the DAF and CLO Holdco proceeded with

caution. They first sued Highland Capital in the Northern District of Texas—the

court with supervisory authority over the bankruptcy court and from whom the

bankruptcy court’s jurisdiction derived. ROA.831. The DAF and CLO Holdco then

asked the district court for leave (rather than automatically amend their petition,

which they had the right to do) to add Mr. Seery to the lawsuit. Id.; ROA.866-75.

The motion for leave was denied within twenty-four hours of its filing because not

all parties had yet been served. ROA.831. Despite this no-harm situation, Highland

immediately initiated sanctions proceedings against The DAF and CLO Holdco,

                                          4
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 6 of 12 PageID 5872



claiming that the mere act of seeking leave to sue Mr. Seery violated the bankruptcy

court’s Appointment Order. ROA.319-20. The DAF and CLO Holdco defended,

asserting that asking for permission to sue did not violate the order, which was extra-

jurisdictional and void in any event. The bankruptcy court nevertheless found the

DAF and CLO Holdco in contempt, awarding sanctions of $239,655 against them

for a motion that was denied within a day of its filing. See ROA.381.

      While the contempt proceedings were ongoing, The DAF and CLO Holdco

also moved the bankruptcy court to modify its Appointment Order, again arguing

that the order improperly extended gate-keeping and exculpation protections to Mr.

Seery even though he was not a Chapter 11 trustee and expanded the bankruptcy

court’s jurisdiction over claims where it otherwise had none. ROA.828-75. The

bankruptcy court refused to modify its Appointment Order, deeming the order final

and finding the DAF and CLO Holdco had not met Rule 60(b)’s requirements for

relief from a final judgment. ROA.04-05. The DAF and CLO Holdco timely filed

this appeal from the bankruptcy court’s order refusing to modify its Appointment

Order. ROA.01-03.

             ARGUMENT TO STAY OR ABATE THIS APPEAL
      This Court may abate or stay a case as part of its “power . . . to control the

disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also


                                          5
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 7 of 12 PageID 5873



United States v. Hernandez-Saenz, 733 F. App’x 144, 146 (5th Cir. 2018) (noting

the court had stayed the case pending a panel decision and then held the appeal in

abeyance to await an en banc decision); Garza v. Potter, No. H-04-1844, 2005 WL

6456897, at *1 (S.D. Tex. Oct. 17, 2005) (noting the court granted a motion to abate

pending the Fifth Circuit’s decision in a separate appeal). Among other things,

federal courts have broad discretion to stay proceedings to conserve judicial

resources and avoid duplicative litigation. See Landis, 299 U.S. at 245-55; Watts v.

Schwartz, No. 08-5095, 2009 WL 1950586, at *4 (E.D. La. July 1, 2009) (“A district

court has the inherent power to stay its proceedings.”). This is precisely the type of

situation that warrants the exercise of this Court’s discretion to stay or abate an

appeal.

      Here, the DAF and CLO Holdco challenge the validity of a bankruptcy court

order appointing a Debtor-retained professional (Mr. Seery) as the Debtor’s Chief

Executive Officer and Chief Restructuring Officer (“Appointment Order”). Mr.

Seery is neither a Trustee nor a professional specifically retained by the Trustee.

That Appointment Order does several things: (1) it requires parties to first obtain the

bankruptcy court’s permission before suing Mr. Seery; (2) it enjoins all claims

against Mr. Seery except for those involving gross negligence or willful misconduct

(thus implicitly exculpating him from all other tortious acts); and (3) it gives the

bankruptcy court sole jurisdiction not only to determine the validity of a party’s

                                          6
    Case 3:21-cv-01585-S Document 10 Filed 09/22/21      Page 8 of 12 PageID 5874



proposed claims against Mr. Seery, but also to adjudicate those claims even if they

would otherwise fall outside of the bankruptcy court’s jurisdiction. ROA.531-33.

These gate-keeping, injunctive, and jurisdictional provisions in the Appointment

Order all served as bases for the DAF’s and CLO Holdco’s request to modify, which

the bankruptcy court refused.

        Similar provisions also exist in the Plan Confirmation Order and those

provisions have been challenged and accepted for direct appeal by the Fifth Circuit

in the NexPoint Advisors case. Like the Appointment Order, the Plan Confirmation

Order contains broad and sweeping exculpation and injunction provisions that bar

and limit claims against several parties, including the Debtor and Mr. Seery, and put

the bankruptcy court in a gate-keeping role over any purported claims.1 ROA.739-

44. Appellants in that appeal have already filed their briefs, raising some of the same

arguments that the DAF and CLO Holdco would press in this appeal about the

propriety of such provisions. And Highland Capital’s brief is currently due on

October 6, 2021, around the time when the DAF’s and CLO Holdco’s opening brief

would be due in this matter.



1
 Notably, the Plan Confirmation Order contains caveated language regarding the
bankruptcy court’s adjudicatory jurisdiction over claims against Debtor-retained
professionals—it has such jurisdiction “only to the extent legally permissible.”
ROA.743-44. The Appointment Order contains no such caveat—it says the
bankruptcy court “shall have sole jurisdiction to adjudicate any such claim for which
approval of the Court to commence or pursue has been granted.” ROA.533.
                                          7
    Case 3:21-cv-01585-S Document 10 Filed 09/22/21      Page 9 of 12 PageID 5875



        The Fifth Circuit’s resolution of the NexPoint Advisors appeal—which

challenges very similar gate-keeping and injunctive clauses from the same

bankruptcy court in the same bankruptcy proceeding—will shed significant light on

the issues that will be raised here. Indeed, the Fifth Circuit’s opinion may ultimately

narrow or even eliminate issues that would otherwise be raised before this Court.2

Staying or abating this case until a decision from the Fifth Circuit in the NexPoint

Advisors appeal will therefore promote judicial economy and conserve resources of

both sides. All sides and this Court would benefit from the Fifth Circuit’s guidance

on the scope of a bankruptcy court’s power to gate-keep, enjoin, and determine the

propriety of claims against Debtor-retained professionals.

        Beyond that, no harm will be done to Highland Capital from an abeyance.

Rather, Highland Capital will conserve resources better devoted elsewhere while

awaiting guidance from the Fifth Circuit.

                                  CONCLUSION
        For the above reasons, the DAF and CLO Holdco request that this Court stay

or abate this appeal of the bankruptcy court’s Appointment Order until resolution of



2
  Aside from the difference in adjudicatory jurisdiction language between the two
orders (see Footnote 1, supra), other issues in this appeal are not presented in the
Fifth Circuit matter, including the procedural question of whether the bankruptcy
court’s Appointment Order was interlocutory. Nevertheless, the Fifth Circuit’s
guidance on the parameters of a bankruptcy court’s power to gate-keep and enjoin
claims against bankruptcy professionals will likely shed light on issues raised here.
                                            8
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21        Page 10 of 12 PageID 5876



the NexPoint Advisors appeal in the Fifth Circuit. The DAF and CLO Holdco request

any and all further relief to which they may be entitled.


Dated: September 22, 2021.

                                 By: /s/ Mazin A. Sbaiti
                                     Mazin A. Sbaiti
                                     Texas Bar No. 24058096
                                     Jonathan Bridges
                                     Texas Bar No. 24028835
                                     SBAITI & COMPANY PLLC
                                     J.P. Morgan Chase Tower
                                     2200 Ross Avenue, Suite 4900W
                                     Dallas, TX 75201
                                     Telephone: (214) 432-2899
                                     Facsimile: (214) 853-4367
                                     MAS@sbaitilaw.com
                                     JEB@sbaitilaw.com

                                      Counsel for Appellants
                                      The Charitable DAF Fund, L.P.
                                      and CLO Holdco, Ltd.




                                          9
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21      Page 11 of 12 PageID 5877



                       CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Bankruptcy Procedure 8015(h), I hereby certify

that:

        The foregoing motion complies with the word limit of Federal Rules of

Bankruptcy Procedure 8013(f)(3)(A), excluding the parts of the motion exempted

by the Federal Rule of Bankruptcy Procedure 8015(g) and the accompanying

documents exempted by Federal Rule of Bankruptcy Procedure 8013(f)(3), this

document contains 1,679 words.

        This document complies with the typeface requirements of Federal Rules of

Bankruptcy Procedure 8013(f)(2), 8015(a)(5), and 8015(a)(6) because it has been

prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-point

Times New Roman font.

                                               /s/ Mazin A. Sbaiti
                                               Mazin A. Sbaiti




                                        10
 Case 3:21-cv-01585-S Document 10 Filed 09/22/21         Page 12 of 12 PageID 5878



                      CERTIFICATE OF CONFERENCE

      I certify that on September 14, 2021, I communicated with counsel for

Appellee Highland Capital Management, L.P., and they indicated that Appellee is

opposed to the relief requested in this motion.

                                                  /s/ Jonathan Bridges
                                                  Jonathan Bridges




                         CERTIFICATE OF SERVICE
      I certify that on September 22, 2021, I caused a copy of the foregoing

document to be served by Electronic Case Filing System for the United States

District Court for the Northern District of Texas.

                                                  /s/ Mazin A. Sbaiti
                                                  Mazin A. Sbaiti




                                         11
